 Fill in this information to identify the case:

  Debtor 1              Charles W. Carpenter
  Debtor 2              Pamela J. Carpenter
  (Spouse, if filing)

  United States Bankruptcy Court for the:                Eastern District of Michigan
                                                                                        (State)
  Case number           16-42665




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                           12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                               HSBC Bank USA, National Association, as Trustee for
                               Lehman Mortgage Trust Mortgage Pass-Through Certificates
 Name of creditor:             Series 2006-7                                                        Court claim no. (if known):                  15
 Last 4 digits of any number you use to                                                             Date of payment change:
 identify the debtor’s account:                               2      8       9          8           Must be at least 21 days after date       7/1/2019
                                                                                                    of this notice


                                                                                                    New total payment:                        $ 1,287.93
                                                                                                    Principal, interest, and escrow, if any

 Part 1:          Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
            No
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:


                    Current escrow payment:        $ 484.48                                       New escrow payment:         $ 573.76


 Part 2:          Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:


                    Current interest rate:                               %                        New interest rate:                            %

                    Current principal and interest payment: $                                     New principal and interest payment: $


 Part 3:          Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)

                    Reason for change:

                    Current mortgage payment: $                                                   New mortgage payment: $




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Debtor 1         Charles W. Carpenter                                                       Case number (if known) 16-42665
                 First Name      Middle Name           Last Name




 Part 4:      Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.
           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.




     /S/                                                                                    Date    May 9, 2019
     Signature
     Trott # 470393B01
                                                                                                    Attorney for HSBC Bank USA,
                                                                                                    National Association, asTrustee
                                                                                                    for Lehman Mortgage Trust
                                                                                                    Mortgage Pass-Through
 Print:             Shawn C Drummond (P58471)                                               Title   Certificates Series 2006-7
                    First Name                  Middle Name          Last Name



 Company            Trott Law, P.C.



 Address            31440 Northwestern Hwy Ste. 145
                    Number                 Street

                    Farmington Hills, MI 48334-5422
                    City                                             State       ZIP Code



 Contact phone      248.642.2515                                                            Email EasternECF@trottlaw.com




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